 

Case: 1:17-cv-00054-NBB-DAS Doc #: 1 Filed: 04/11/17 1 of 6 PagelD #: 1

Pro Se I (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT
for the
Northern District of Mississippi

__ Civil Rights Division

Case No. \", (Wev54-NRE- DAS

+

(to be filled in by the Clerk’s Office)

Eric Dilworth

 

 

Plaintiffs)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

Jury Trial: (check one) [_] ves [_]No

VanLeigh RV Inc.

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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COMPLAINT FOR A CIVIL CASE

I, The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

needed.
Name Eric Dilworth
Street Address 109 South Adams Street Apartment B
City and County luka Tishomingo
State and Zip Code Mississippi 38852
Telephone Number 662-424-2037 or 662-593-3227
E-mail Address ericdilworth1212@yahoo.com

 

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

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Defendant No. 1

 

 

 

 

 

Name VanLeigh RV Inc.

Job or Title (if known)

Street Address 26 Industrial Drive Access Road
City and County Burnsville Tishomingo

State and Zip Code Mississippi 38852

Telephone Number 662-612-4040

 

E-mail Address (if known)

 

Defendant No. 2

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 3

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 4

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

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I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[V |Federal question [] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

5 U.S. Code § 8905 Election of Health Insurance Coverage

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (name) Eric Dilworth , is a citizen of the

 

State of (name) Mississippi

 

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

 

under the laws of the State of (name) ;

 

and has its principal place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff)

 

2. The Defendant(s)
a. If the defendant is an individual
The defendant, (name) VanLeigh RV Inc. , iS acitizen of
the State of (name) Mississippi . Or is a citizen of

 

(foreign nation)

 

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IV.

 

b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) ,

 

 

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

The amount is an estimated $175.00 in weekly insurance premiums.

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

Eric Dilworth started having insurance premiums taken out of his weekly checks on 08/01/2016 on 12/31/2016
VanLeigh RV Inc. terminated the insurance coverage that they had with Blue Cross Blue Shield of Mississippi
and Guardian. On 01/01/2017 VanLeigh RV started insurance with Alternative Insurance Incorporated but Eric
Dilworth did not have any dental insurance. VanLeigh states that there was a mix-up with Eric Dilworth's
insurance coverage and infact he always had insurance. Eric Dilworth has checked with all insurance companies
that were suppose to hold his dental insurance policy on 01/01/2017 but the insurance companies say that they
do not have any record of him having insurance with their company.

 

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

Eric Dilworth would like the court to award any monetary amount that the court views will remedy this problem.

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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause

unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a

nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing:

 

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Date of signing:

 

 

 

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

 

 

 

 

 

 

 

 

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UNITED STATES DISTRICT COUP”
TORTHERN DISTRICT OF Miser"

 

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